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IN THE UNITED STATES BANKRUPTCY COURT
FOR TE DISTRICT OF DELAWARE

IN RE: Chapter 11

AMERICAN HOME MORTGAGE Case No. 07-11047
(CSS)

HOLDINGS, INC. et al
A Delaware corporation
Debtors
ORDER FOR CONTINUANCE OF HEARING
1. This matter comes before the Court on Motion by Hussain Kareem, Claimant in the
action, This court grants of this matter for Hearing Scheduled for October 7", 2011 at 10
am. to be Continued in 30 days from the date of entry of this order Granting
Continuance.

2. SO ORDERED, the

U.S. States Bankruptcy Judge,
Christopher Sontchi, by Designation

Date: October , 2011

cc:

Mr. Hussain Kareem

2197 Carlysle Creek Drive
Lawrenceville, GA 30044
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Certificate of Service

I, Hussain Kareem, do certify that I have mailed by first class U.S. Mail on about October 4, 5
2011, the foregoing to the following at his/her address below: Coe a

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The Plan Trustee:

Steven D. Stass

AHM Liquidating Trust

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Mathis K. Wright, President
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